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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION

    Maya Parizer, et al.,

           Plaintiffs,

    v.                                                Case No.1:24-cv-724-RDA-IDD

    AJP Educational Foundation, et al.,

           Defendants.

                            MOTION FOR CLERK’S ENTRY OF DEFAULT
                             AGAINST DEFENDANT ZAREFAH BAROUD

          Plaintiffs Maya Parizer, Adin Gess, Noach Newman, Natalie Sanandaji, Yoni Diller, David

Bromberg, Lior Bar Or, Ariel Ein-Gal, and Hagar Almog (collectively, “Plaintiffs”), by and

through undersigned counsel, respectfully move the Clerk of this Court for an entry of default

against Defendant Zarefah Baroud pursuant to Federal Rule of Civil Procedure 55(a). The factual

basis and legal authority for Plaintiffs’ Motion are more fully set forth in the accompanying brief.

A declaration in support and proposed entry of default are attached to this Motion.1

Dated: September 5, 2024
                                                     Respectfully submitted,

                                                     Counsel for Plaintiffs Maya Parizer, Ariel
                                                     Ein-Gal, Hagar Almog, Adin Gess, Noach
                                                     Newman, Natalie Sanandaji, Yoni Diller,
                                                     David Bromberg, and Lior Bar Or

                                                     By: /s/ Jason Torchinsky
                                                        JASON TORCHINSKY




1
 Because Defendant Baroud has so far failed to appear and respond, counsel for Plaintiffs have
been unable to identify counsel for Defendant Baroud with which to meet and confer pursuant to
Local Rule 7(E).

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                                    Certificate of Service


       I hereby certify that on September 5, 2024, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to all
counsel of record.



                                                   /s/ Jason Torchinsky
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